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                           UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF PENNSYLVANIA

___________________________________
                                    )
MARY JAGIELSKI                      )                  Case Number
                                    )
            Plaintiff               )
                                    )
            vs.                     )                  CIVIL COMPLAINT
                                    )
REGENT ASSET MANAGEMENT             )
SOLUTIONS, N.A                      )                  JURY TRIAL DEMANDED
            Defendant               )
___________________________________ )



                              COMPLAINT AND JURY DEMAND

        COMES NOW, Plaintiff, Mary Jagielski by and through her undersigned counsel, Brent

F. Vullings, Esquire of Warren & Vullings, LLP, complaining of Defendant, and respectfully

avers as follows:

                              I. INTRODUCTORY STATEMENT

        1.      Plaintiff, Mary Jagielski, is an adult natural person and brings this action for

actual and statutory damages and other relief against Defendant for violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692 et seq ³)'&3$´ ZKLFKSURKLELWVGHEWFROOHFWRUV

from engaging in abusive, deceptive and unfair practices.

                                        II. JURISDICTION

        2.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. §

1337.

        3.      Venue in this District is proper in that the Defendant transacts business here and

maintains a registered office in this District.
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                                          III. PARTIES

       4.      Plaintiff, Mary Jagielski is an adult natural person residing at 21680 Sierra Drive,

Brookfield, WI 53045. At all times material and relevant hereto, Plaintiff is D³FRQVXPHU´DV

defined by the FDCPA, 15 U.S.C. § 1692a (2).

       5.      Defendant, Regent Asset Management Solutions, N.A. ³'HIHQGDQW´ DWDOOWLPHV

relevant hereto, is and was a corporation engaged in the business of collecting debt within the

Commonwealth of Pennsylvania and the State of Colorado with its principal place of business

located at 7290 Samuel Drive, Suite 300, Denver, Colorado 80221 and a registered address

located at 116 Pine Street, Suite 320, Harrisburg, Pennsylvania 17101.

       6.      Defendant is engaged in the collection of debts from consumers using the

telephone and mail. Defendant regularly attempts to collect consumer debts alleged to be due to

DQRWKHU'HIHQGDQWLVD³GHEWFROOHFWRU´DVGHILQHGE\WKH)'&3$86&D  

                               IV. FACTUAL ALLEGATIONS

       7.      In or around May 2010, the Plaintiff began receiving phone calls from the

Defendant ORRNLQJIRU³-DPHV -LP -DJLHOVNL´Zho is a distant relative of the Plaintiff.

       8.      The Defendant calls the Plaintiff stating that they are calling in regards to a debt

RZHGE\³-DPHV -LP -DJLHOVNL´

       9.      The Plaintiff has told the 'HIHQGDQW¶V DJHQWV PXOWLSOH WLPHV WKDW WKH SHUVRQ WKH

Defendant is looking for does not reside there, nor does the Plaintiff have his contact information

and for the Defendant to stop calling.

       10.     The Defendant continued to accuse the Plaintiff of lying, stating that the person

they are looking for is the PlaintiII¶VKXVEDQGDQGWKDWWKH3ODLQWLIINQRZVH[DFWO\ZKHUHKHLV

and to have him call the Defendant back.
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        11.     The Plaintiff has tried to explain to the agent of the Defendant that she does not

have contact with the person they are looking for and that she is not the wife of this person but

the agent very rudely talks over the Plaintiff, not listening to what the Plaintiff has to say.

        12.     On or around June 2010, during another phone call, the Plaintiff tried to get

LQIRUPDWLRQ IURP WKH 'HIHQGDQW¶V DJHQW DVNLQg who they were calling on behalf of and their

name but WKH DJHQW MXVW NHSW UHSHDWLQJ RYHU WKH 3ODLQWLII DVNLQJ ³,V -DPHV WKHUH"  ,V -DPHV

WKHUH"´HDFKWLPHJHWWLQJlouder.

        13.     The Plaintiff, after several attempts, was then able to get information from the

Defendant regarding information about the company.

        14.      On another occasion, the Plaintiff spoke with an agent of the Defendant named,

³&DQG\´ZKR, when the Plaintiff told the agent that she was going to seek the assistance of an

attorney, hung up on the plaintiff.

        15.     On or around June 30, 2010, the Plaintiff sent a cease and desist letter to the

Defendant.

        16.     The Plaintiff continued to receive phone calls after sending a cease and desist

letter but when the Plaintiff told the agent she did so, the agent denied receiving a copy.

        17.     In or around July 2010, the Plaintiff asked to speak with a manager of the

'HIHQGDQW¶V agent, during this conversation, the Plaintiff explained that she does not want the

Defendant to contact her any longer and that she does not have contact with the person they are

looking for  7KH DJHQW¶V PDQDJHU UHsponded by asking the Plaintiff how she feels about her

family not being able to pay their bills and the Plaintiff will end up just like them if she does not

comply.
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        18.      The Defendant continued to raise his voice to the Plaintiff, talking over her and

GLVUHJDUGLQJDQ\WKLQJWKDWKDGWREHVDLGFDOOLQJWKH3ODLQWLII¶VIDPLO\³DVSHFLDOEUHHG´IRUQRW

paying their debts.

        19.      7KH 3ODLQWLII RQFH DJDLQ WROG WKH 'HIHQGDQW WR VWRS FDOOLQJ WKDW ³-DPHV -LP 

-DJLHOVNL´ GRHV QRW OLYH WKHUH DQG WKDW VKH KDV SURRI EXW WKH DJHQW WROG WKH 3ODLQWLII WKDW WKH

Defendant has the proof and that is why they are contacting the Plaintiff.

        20.      The Defendant knew or should have known that their actions violated the

FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and their

DJHQW¶VDFWLRQVZLWKLQFRPSOLDQFHRIWKH)'&3$EXWQHJOHFWHGWRGRVRDQGIDLOHGWRDGHTuately

review those actions to insure compliance with the law.

        21.      At all times pertinent hereto, Defendant was acting by and through it agents,

servants and/or employees, who were acting with the scope and course of their employment and

under the direct supervision and control of Defendant herein.

        22.      At all times pertinent hereto, the conduct of Defendant as well as its agents,

servants and/or employees, was malicious, intentional, willful, reckless, negligent and in wanton

disregard for federal and state law and the rights of the Plaintiff herein.

        23.      $V D UHVXOW RI 'HIHQGDQW¶V FRQGXFW 3ODLQWLIIV KDYH VXVWDLQHG DFWXDO GDPDJHV

LQFOXGLQJ EXW QRW OLPLWHG WR LQMXU\ WR 3ODLQWLII¶V UHSXWDWLRQ LQYDVLRQ RI SULYDF\ GDPDJH WR

3ODLQWLII¶VFUHGLWRXW-of-pocket expenses, physical, emotional and mental pain and anguish and

pecuniary loss and she will continue to suffer same for an indefinite time in the future, all to her

great detriment and loss.
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                                       COUNT I ± FDCPA

        24.     The above paragraphs are hereby incorporated herein by reference.

        25.     At all times relevant hereto, Defendant was attempting to collect an alleged debt

ZKLFKZDVLQFXUUHGE\3ODLQWLIIIRUSHUVRQDOIDPLO\RUKRXVHKROGSXUSRVHVDQGLVD³GHEW´DV

defined by 15 U.S.C. § 1692a(5).

        26.     The foregoing acts and omissions constitute violations of the FDCPA, including

but not limited to, violations of:

                §§ 1692b(1):          Failed to identify themselves, or failed to state that

                                      collector is confirming or correcting location information

                §§ 1692b(2):          Stated that the consumer owes any debt

                §§ 1692b(3):          Contacted a person more than once, unless requested to do

                                      so

                §§ 1692c(b):          With anyone except consXPHUFRQVXPHU¶VDWWRUQH\RU

                                      credit bureau concerning the debt

                §§ 1692c(c):          After written communication that the consumer wants

                                      collector to cease communication

                §§ 1692d:             Any conduct the natural consequence of which is to harass,

                                      oppress, or abuse any person

                §§ 1692d(2):          Profane language or other abusive language

                §§ 1692d(5):          Caused the phone to ring or engaged any person in

                                      telephone conversations repeatedly

                §§ 1692f:             Any unfair or unconscionable means to collect or attempt

                                      to collect the alleged debt
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       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant, Regent Asset Management Solutions, N.A. for the following:

       a.      Actual damages;

       b.      Statutory damages pursuant to 15 U.S.C. § 1692k;

       c.      5HDVRQDEOHDWWRUQH\¶VIHHVDQGOLWLJDWLRQH[SHQVHVSOXVFRVWVRIVXLWDQG

       d.      Such additional and further relief as may be appropriate or that the

       interests of justice require.

                                       V. JURY DEMAND

       Plaintiff hereby demands a jury trial as to all issues herein.



                                              Respectfully submitted,

                                              WARREN & VULLINGS, LLP

Date: August 24, 2010                         BY: /s/ Brent F. Vullings
                                              Brent F. Vullings, Esquire

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